                   Case 2:14-cv-01699-LRH-DJA Document 1128 Filed 12/12/18 Page 1 of 3


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          16     Ravin
          17                               UNITED STATES DISTRICT COURT

          18                                        DISTRICT OF NEVADA

          19     RIMINI STREET, INC., a Nevada                       CASE NO. 2:14-cv-01699-LRH-CWH
                 corporation,
          20                                                         DECLARATION OF JONATHAN
                                       Plaintiff,                    ORSZAG IN SUPPORT OF
          21                                                         DEFENDANTS’ OPPOSITION TO
                        v.                                           ORACLE’S MOTION FOR PARTIAL
          22                                                         SUMMARY JUDGMENT [ECF NO.
                 ORACLE INTERNATIONAL                                1004]
          23     CORPORATION, a California corporation,
                 and ORACLE AMERICA, INC., a Delaware
          24     corporation,
          25                           Defendants.
          26
                 AND RELATED COUNTERCLAIMS.
          27
          28

Gibson, Dunn &       DECLARATION OF JONATHAN ORSZAG IN SUPPORT OF DEFENDANTS’ OPPOSITION TO
Crutcher LLP
                                ORACLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                         CASE NO. 2:14-CV-01699-LRH-CWH
                   Case 2:14-cv-01699-LRH-DJA Document 1128 Filed 12/12/18 Page 2 of 3


            1           I, Jonathan Orszag, declare as follows:
            2           1.      I am a Senior Managing Director and member of the Executive Committee of
            3    Compass Lexecon, LLC, an economic consulting firm. I have been retained by counsel
            4    representing Rimini Street, Inc. (“Rimini”) to estimate damages to Rimini due to the alleged
            5    unlawful conduct of Oracle International Corporation and Oracle America, Inc. (collectively,
            6    “Oracle”) in this matter, including tortious interference and/or violations of the Nevada
            7    Deceptive Trade Practices Act.

            8           2.      On May 4, 2018, I submitted the Expert Report of Jonathan Orszag (“Expert
            9    Report”), which contains some of my expert opinions in this case. The information in that
          10     report is a true and correct statement of my opinions and the evidence on which those opinions
          11     are based, and if called as a witness at trial I would testify to those opinions.
          12            3.      A copy of my Expert Report has been filed as Ex. 524 to Appendix of Evidence
          13     in Support of Rimini’s Opposition to Oracle’s Motion for Partial Summary Judgment
          14     Regarding Rimini’s Fourth, Sixth, and Eighth Causes of Action, as well as Rimini’s Improper
          15     Claim for Damages, Vol. 50 of 58 (ECF No. 1081-5).
          16
          17            I declare under penalty of perjury under the laws of the United States of America that
          18     the foregoing is true and correct, and that I executed this declaration on December __,
                                                                                                      7 2018, at


          19     ___________________.
                  Los Angeles, CA


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          22                                                                      Jonathan Orszag
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Gibson, Dunn &        DECLARATION OF JONATHAN ORSZAG IN SUPPORT OF DEFENDANTS’ OPPOSITION TO
Crutcher LLP
                                 ORACLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                          CASE NO. 2:14-CV-01699-LRH-CWH
                   Case 2:14-cv-01699-LRH-DJA Document 1128 Filed 12/12/18 Page 3 of 3


            1                                   CERTIFICATE OF SERVICE
            2           I hereby certify that on this date, I caused to be electronically uploaded a true and correct

            3    copy in Adobe “pdf” format of the above document to the United States District Court’s Case

            4    Management and Electronic Case Filing (CM/ECF) system. After the electronic filing of a

            5    document, service is deemed complete upon transmission of the Notice of Electronic Filing

            6    (“NEF”) to the registered CM/ECF users. All counsel of record are registered users.

            7    DATED: December 12, 2018

            8
                                                                GIBSON, DUNN & CRUTCHER LLP
            9

           10                                                   By: /s/ Jeffrey T. Thomas
                                                                                Jeffrey T. Thomas
           11
                                                                Attorneys for Plaintiff and Counterclaimant
           12                                                   Rimini Street, Inc. and Counterdefendant Seth
                                                                Ravin
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Gibson, Dunn &       DECLARATION OF JONATHAN ORSZAG IN SUPPORT OF DEFENDANTS’ OPPOSITION TO
Crutcher LLP
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                                         CASE NO. 2:14-CV-01699-LRH-CWH
